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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                     10/19/2020

 Giannis Antetokounmpo,

                        Plaintiff,
                                                                                20-cv-4060 (AJN)
                –v–
                                                                                     ORDER
 Bryanty Arborough,

                        Defendant.



ALISON J. NATHAN, District Judge:

       Pursuant to Rule 1.I of this Court’s Individual Practices in Civil Cases, all attorneys
representing parties before the Court are required to promptly enter an appearance in the case.
The counsel for the Defendant who signed the stipulation of dismissal with prejudice, Dkt. No.
17, has not yet entered an appearance. Counsel should promptly enter an appearance and then
re-file the document.

       SO ORDERED.


Dated: October 16, 2020                            __________________________________
       New York, New York                                   ALISON J. NATHAN
                                                          United States District Judge
